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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF DELAWARE

NONEND INVENTIONS N.V.,
Plaintiff,
V.

SPOTIFY USA INC.,, ef al,

Defendants.

Nee Nee ee ee ee ee ee” ee Ne”

Civil Action No. 12-1041-GMS

JURY TRIAL DEMANDED

DEFENDANTS SPOTIFY USA INC., SPOTIFY LIMITED,
SPOTIFY TECHNOLOGY S.A., AND SPOTIFY AB’S
OPENING MARKMAN BRIEF

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I. INTRODUCTION

Spotify’s proposed constructions are well-supported by the specification and intrinsic
record and help clarify the scope of the claims. Indeed, Spotify’s proposed constructions are
grounded in the language actually used by the patentees in the specifications of the Asserted
Patents, and the subject matter of the alleged inventions. By contrast, the proposed constructions
of plaintiff Nonend Inventions, N.V. (“Nonend” or “Plaintiff’) are overbroad and ignore explicit
limitations on the alleged invention(s) in an effort to manufacture infringement arguments.
Specifically, many of Nonend’s constructions ignore the fact that the specifications of the
Asserted Patents limit the invention to a peer-to-peer network, and explicitly disclaim
hierarchical networks that are not peer-to-peer. Many of Nonend’s proposed constructions
therefore improperly cover what the Asserted Patents have explicitly disclaimed. Accordingly,
Nonend’s arguments and proposed constructions should be rejected. Spotify’s proposed
constructions should be adopted.
IL. BACKGROUND

Nonend alleges that Spotify’s digital music service infringes 49 claims across six patents
(collectively, the “Asserted Patents”).! The Asserted Patents, which are attached as Exhibits 1

through 6 to the parties’ Joint Appendix, share the same s ecification” and claim priority to
Pp P Pp y

 

' Nonend alleges infringement of claims 1-4, 6-8, 11, 13-15, 18, 19 and 23 of U.S. Patent No.
7,587,508 (the “508 Patent”); claim 1 of U.S. Patent No. 7,590,752 (the “’752 Patent”); claims
22, 24, 25, 27-31, 37 and 38 of U.S. Patent No. 7,779,138 (the “138 Patent”); claims 1, 2, 5, 9,
10, 12, 14, 15 and 17 of U.S. Patent No. 8,090,862 (the “’862 Patent”); claims 33, 35, 36, 38 and
40 of U.S. Patent No. 8,099,513 (the “’513 Patent”); and claims 1, 2, 3, 6, 8, 31-33, 36 and 37 of
USS. Patent No. 8,266,315 (the ‘’315 Patent”). The ’508, ’752, 7138, ’862, and ’513 Patents
were asserted against Spotify in Case No. 1:12-cv-1041-GMS on August 15, 2012. See Doc. 1.
The °315 Patent was asserted against Spotify in Case No. 1:13-cv-389-GMS on March 8, 2013.
Although the cases have not been officially consolidated by the Court and remain separate
matters (at least administratively), the parties have handled the °315 Patent as if it was part of the
first filed case. All references to the docket in this brief refer to the docket for Case No. 1:12-cv-
1041-GMS.

* See Ex. B to the parties’ Joint Claim Construction Chart (Doc. 36-2), n.1 (“Because the
specifications of the patents-in-suit [are] essentially identical in substance, citations are to the
’508 patent specification... for ease of reference”). For ease of reference in this Markman brief,
all references and citations to “the specification” or “the written description” will refer to the
°508 Patent’s specification, unless otherwise specified.
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Dutch application No. 1017388 filed on February 16, 2001, Notably, the Dutch application does
not contain what is designated in the U.S, Patents as Figures 7 to 15, nor does it describe them.?

A. Peer-to-Peer Networks In General

The Asserted Patents involve specific implementations of what is known as a “peer-to-
peer network,” often abbreviated “P2P.” Computer networks, such as the familiar Internet or
local area networks (LANs) found in many homes and offices, allow the transmission of data
between computers. Networked computers can talk to one another by means of electronic
communications over the Internet or over a local network. Such computer networks can be
categorized into several broad types. The two types that are relevant to the Asserted Patents are
peer-to-peer networks and hierarchical networks, which may be distinguished by the way in
which communications between computers occurs.

A hierarchical network can be analogized to a military unit. There is usually one person,
the commanding officer, who interacts with all the subordinate soldiers beneath him. The officer
communicates his wishes to his subordinates, who in turn relay those wishes to other soldiers,
who carry them out. The subordinates may deliver reports to the officer, or request resources
from the officer to carry out a new mission, or may work together at the direction of the officer.
But the commanding officer is at the center of the military unit and is the one that imposes some
kind of order on the communications between the subordinates.

Similarly, in a hierarchical computer network, there is one computer (or sometimes a
designated set of computers), often called a “server” or a central computer, that may introduce
other computers (the “client” computers) to one another, and initiate and control connections
between networked client computers. In such a centralized system, client computers typically

request resources or data from a centralized server or servers. The computers in this type of

 

> Certified copy of NL App. No. 1017388, submitted with application for priority parent U.S.
Patent No. 7,065,548 [A-3064-3126]. “A” refers to the page numbers of the Joint Appendix of
Intrinsic and Extrinsic Evidence to be filed concurrently with the parties Answering Markman
Briefs on November 15, 2013, pursuant to the Court’s Scheduling Order.

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network are hierarchically arranged because they are separated into two dissimilar groups —
servers and clients, each of which has its own specific and different function.

Networks need not be arranged hierarchically, however. A peer-to-peer network is a
non-hierarchic network that is more akin to a cocktail party. The guests at a cocktail party
communicate autonomously, without any control from the host or the other guests. Any guest
can walk over to any other guest and strike up a conversation. There is no one at the party telling
the lawyer that she must talk to the schoolteacher, or the schoolteacher that he must talk to the
doctor. Communications take place at the will of each individual guest. In that sense, all guests
are equal, because each guest controls his own communications with other guests, and there is no
one to impose an order on the conversations.

In the same way, the peer computers (or “nodes”) in a peer-to-peer network are all
equals, and-no computer is assigned to control the rest. Any computer can initiate a
communication with other computers in a P2P network. Each computer is sometimes the
initiator, and sometimes the receiver, of a communication. In other words, because all computers
are equal, they switch roles from transmitting to receiving depending on need. They do not have
fixed roles like server and client computers in a hierarchal network.

B. The Asserted Patents Concern Peer-to-Peer Technology

The Asserted Patents solely relate to P2P communications, with each of the Asserted
Patents purportedly claiming different aspects of a P2P system. The primary embodiment*
described in the specification of the Asserted Patents is a P2P network that can be used to
provide streaming music or other content from one peer node to another in a specific way.’ The
specification describes how peer nodes autonomously create an “organic” peer network by

seeking out other peers that can stream music to each other.® The applicants acknowledge that

 

* The specification also briefly discusses peer networks in the context of cell phone
communications, traffic information systems, and cable networks for television. See ’508 Patent
at 9:57-11:37 [A-50-51]. The remainder of the specification discusses the music streaming
embodiment.

> See, e.g., 508 Patent at 2:31-43 [A-46].
6 See id. at 8:16-9:56 [A-49-50].
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P2P was known at the time of the filing of their application and that they did not invent P2P
itself, however.’ The claims do not attempt to cover P2P itself but only a particular use of P2P
technology.

The only networks disclosed in the specification are peer networks, and indeed, the
specification states clearly that hierarchical networks are not the invention. Evidence of this is
found throughout the specifications of the Asserted Patents. First, each of the abstracts of the
Asserted Patents describes the alleged invention(s) as a peer-to-peer network, either explicitly or
implicitly. The abstract of the’508 Patent (the first-filed Asserted Patent) describes “[m]ethods
and systems ... for providing receiver-driven streaming of an item of content in a peer-to-peer
network comprising a receiver peer node and a plurality of transmitter peer nodes.” ® The later-
filed applications do not necessarily use the word “peer” in their abstracts, but implicitly describe
peer-to-peer networks: the ’752 Patent abstract describes “[s]ystems and apparatus... for
distributing media content from a first media player to other media players that include a second
media player” wherein “the first media player may output at least a part of the media content to
the first stream target while the second media player outputs at least a part of the media content
to a second stream target”;’ the ’138 Patent abstract describes searching for and building a
network of peers to enable streaming of content between peers :'° the ’862 Patent abstract
describes “streaming content over a network that enables communication between” peer
consumer nodes such that play-back of content at a receiving peer node occur as another part of

the content is being received;”’ the ’513 Patent abstract describes “[s]ystems and methods ... for

 

7 See 508 Patent at 2:19-21 [A-46] (“numerous applications of so-called peer-to-peer networks
that may or may not have client/server technology are known”).

8 7d. at Abstract [A-1] (emphasis added).
? 759 Patent Abstract [A-55].

'°>138 Patent Abstract [A-110] (“The invention relates to a device for either generating or
maintaining an organic data network having an [sic] dynamic topology... Additionally the
invention relates to a method and software for data packages received from a transmitting device
to at least one receiving device, independent of said transmitting device.”); see also, e.g., °138
Patent, claim 22 [A-170].

'l >862 Patent Abstract [A-171] (“Systems and methods are disclosed for streaming content over
a network that enables communication between a first consumer node, a second consumer node,

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streaming content” from one or more peer nodes and wherein “[t]he method includes
autonomously identifying one or more other media player systems”;'* and the 315 Patent
abstract describes “[s]ystems and methods ... for streaming content over a network that enables
communication” between peer nodes and which method also includes making incoming content
received from one of the peer nodes ready for processing and play-back while allowing
simultaneous receipt of the content from other peers. |

Second, the specification makes numerous references to “the invention” and to the
“device according to the invention” before describing what the alleged invention is. See, ¢.g.,
°508 Patent at 1:54-56 [A-46] (“It is an object of the invention to at least partially remove the
drawbacks mentioned explicitly or implicitly. To that end the invention provides...’); 2:24 [A-
46] (“like in the device according to the invention...”); 4:54-55 [A-47] (“In an organic data
network that can be built up and maintained by means of a device according to the
invention...”). In each of those instances, which occur in the “Summary of the Invention”
section of the specification,'* the patentees continue to describe a P2P network comprising peer
nodes. “When a patent thus describes the features of the ‘present invention’ as a whole, this
description limits the scope of the invention.”!” The public is entitled to take the patentees of the

Asserted Patents at their word.

 

and a production node... The method also includes making incoming content received from the
second consumer node ready for processing and play-back at the first consumer node, so that part
of the content is streamed to a stream target at the first consumer node, while another part of the
content is being received from the production node.”). -

'2 5513 Patent Abstract [A-231].
'3 5315 Patent Abstract [A-293].

4 See C.R. Bard, Inc. v. U.S. Surgical Corp., 388 F.3d 858, 864 (Fed. Cir. 2004) (“Although a
statement’s location is not ‘determinative,’ the location can signal the likelihood that the
statement will support a limiting definition of a claim term... Statements that describe the
invention as a whole are more likely to be found in certain sections of the specification, such as
the Summary of the Invention.”).

'S Verizon Servs. Corp. v. Vonage Holdings Corp., 503 F.3d 1295, 1308 (Fed. Cir. _ 2007) (finding
that a patent’s description of the “gateway system of the ‘present invention?” as a “gateway [that]
compresses and decompresses voice frequency communication signals and sends and receives
the compressed signals in packet form via the network” necessarily limited the term “localized
wireless gateway system” to one “performing compression and packetization functions at the
gateway.”). See also Microsoft Corp. v. Multi-Tech Sys., Inc., 357 F.3d 1340, 1348 (Fed. Cir.

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Hierarchical networks are described as the prior art, and the “overhead structures”
inherent in such systems were viewed by the patentees as drawbacks requiring removal.’ In the
Background of the Invention section, the patentees described a network of nodes in a prior art
patent, pointing out that the “nodes, however, are each part of a hierarchic system. Each node is
centrally controlled here by means of a central node.”!® The specification discusses another
prior art reference that discloses a multi-agent system, but denigrates that reference because one
agent “is hierarchically placed below the original agent.”!° In other words, the applicants
distinguished their invention from prior art hierarchical systems and from systems that rely on
central control.”°

The patentees described the alleged inventions as a network of “independent devices,”
i.e., peer devices, as opposed to the hierarchical systems of the prior art. For instance, the
patentees described how the alleged invention builds an “organic network” from a number of
peer nodes, which may be “adapted such that the node can change type by means of the software,
or may even be several types at the same time” so as to achieve “a maximum flexibility of the

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organic network.””! “Central in the network are the consumer nodes,””” which, when connected

together, create a data network.”

 

2004) (finding that clear statements of what “the present system” was in the specification
precluded a finding broadening the scope to packet-switched networks).

16 Honeywell Int’l, Inc. v. ITT Indus., 452 F.3d 1312, 1318 (Fed. Cir. 2006) (“Here, the written
description uses language that leads us to the conclusion that a fuel filter is the only ‘fuel
injection system component’ that the claims cover, and that a fuel filter was not merely discussed
as a preferred embodiment. On at least four occasions, the written description refers to the fuel
filter as ‘this invention’ or the ‘present invention’ ... The public is entitled to take the patentee at
his word...’”).

17 >508 Patent at 1:40-47; 1:54-55 [A-46].
'8 Td. at 1:36-39 [A-46] (emphasis added).
'9 Td. at 1:4-5 [A-46] (emphasis added).

0 See Astrazeneca AB vy. Mut. Pharm. Co., 384 F.3d 1333, 1340 (Fed. Cir. 2004) (“Where the
general summary or description of the invention describes a feature of the invention... and
criticizes other products... that lack the same feature, this operates as a clear disavowal of these
other products (and processes using these products).”).

71 +508 Patent at 4:54-61 [A-47]. See also id. at 5:16-6:20 [A-48].

°2 Td. at 5:3 [A-48].

3 Td. at 6:4-5 [A-48] (“With a growing number of consumer nodes a data network is created.”).
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Making clear their intent to disclaim hierarchical networks and to claim non-hierarchical
P2P networks, the patentees write, “it is possible to build up a data network without hierarchy,
in contrast to the classic networks and the internet.”** The patentees do acknowledge that some
P2P networks “may or may not have client/server technology.””> However, in the very next
paragraph, they dispel any notion that the Asserted Patents claim such a network but instead

claims a network of equal peers:

However, an organic network having a dynamic topology wherein data transfer between
server and client takes place like in the device according to the invention, is not described
in them. In conformity with the device according to the invention it is namely possible
that the same peer at one moment acts as server having a second peer as client and at
another moment acts as client of the second peer now acting as server, without a control
being at the basis thereof. The two devices change role on their own initiative.”°

The specification also discusses one of the alleged advantages of the P2P network of the
patents over hierarchical networks: greater robustness because it does not contain a potential
point of failure — the server. “[W]hen a server fails [in a hierarchical network] or gets
overloaded very many computers drop off the network. It is possible therefore, using a device
according to the invention, to build or maintain a network having a very low failure
sensitivity.”””

The specification is clear. Hierarchical networks are the prior art and are not the
invention. Instead, the alleged invention is a specific type of P2P network that is disclosed and
claimed in the Asserted Patents. Based on these statements, the claimed invention cannot cover
hierarchical networks or networks other than P2P networks. To find otherwise would

impermissibly broaden the scope of the purported inventions and contradict the very words the

patentees used to describe the systems disclosed in the Asserted Patents.

 

4 +508 Patent at 2:10-12 [A-46] (emphasis added).
5 Tq. at 2:19-21 [A-46].

26 Tq. at 2:22-30 [A-46] (emphasis added).

27 Td. at 2:12-15 [A-46].
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Ill. LEGAL STANDARDS:

Claim construction, a matter of law for the Court, is the first step in any infringement or
validity analysis.”* A district court should construe the claims in light of their language as
informed by their preambles, as well as the patent’s specification, and prosecution history.”

The claim language should guide the Court’s constructions, thus the context in which a
term is used in an asserted claim “can be highly instructive.”*” The specification is the “best
source for understanding a technical term,” to be supplemented, “as needed, by the prosecution
history.”>! Indeed, the specification may resolve ambiguous claim terms “where the ordinary
and accustomed meaning of the words used in the claims lack sufficient clarity to permit the
scope of the claim to be ascertained from the words alone.”** The prosecution history represents
key evidence of how the examiner and the inventor construed the patent.* The prosecution
history “consists of the complete record of the proceedings before the PTO,” which provides
evidence of how the “inventor understood the patent” and explained it.>* Although expert
testimony may illuminate the written description and the prosecution history, it should not be
accepted if it conflicts with the other claims, the written description, or the prosecution history,

as the written record of the patent.°°

 

28 Markman vy. Westview Instruments, Inc., 52 F.3d 967, 979 (Fed. Cir. 1995), aff'd, 517 U.S. 370
(1996).

2° Markman, 52 F.3d at 980; see also Graham v. John Deere Co., 383 U.S. 1, 33 (1966) (“[A]n
invention is construed not only in light of the claims, but also with reference to the file wrapper
or prosecution history in the Patent Office.”).

30 Phillips vy. AWH Corp., 415 F.3d 1303, 1314 (Fed. Cir. 2005) (en banc).

3! Phillips, 415 F.3d at 1315 (quoting Multiform Desiccants, Inc. v. Medzam, Ltd., 133 F.3d
1473, 1478 (Fed Cir. 1998)); see also Vitronics Corp. v. Conceptronic, Inc., 90 F.3d 1576, 1582
(Fed. Cir. 1996) (specification is “highly relevant to the claim construction analysis,” usually
“dispositive,” and “the single best guide to the meaning of a disputed term”).

* Teleflex, Inc. v. Ficosa N. Am. Corp., 299 F.3d 1313, 1325 (Fed. Cir. 2002).

33 See Lemelson v. Gen. Mills, Inc., 968 F.2d 1202, 1206 (Fed. Cir. 1992).

4 Phillips, 415 F.3d at 1317.

35 See Kara Tech., Inc., v. Stamps.com Inc., 582 F.3d 1341, 1348 (Fed. Cir. 2009).

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Claims should generally be interpreted in a manner consistent with other claims, as well
as with the prosecution history.” ° Moreover, the claim terms in related patents sharing a
common specification and application should usually be given the same interpretation.*’ “Where
patents-in-suit all derive from the same parent application and share many common terms, the
Court must interpret the claim consistently across all asserted patents.”**

While the patentee may elect to be his own lexicographer, any special definition given to
a term must be clearly provided in the specification.” A patentee may also impliedly redefine a
claim term by using a second term as an alternative.’” However, the “implied redefinition must
be so clear that it equates to an explicit one.”"! Further, a patentee’s statements disavowing
claim scope during prosecution serve to limit scope.** Disavowals made during the prosecution
of ancestor patent applications may also limit the scope of a claim.”

Extrinsic evidence may also be relevant to claim construction.“* Such evidence consists
of all evidence extrinsic to the patent and its prosecution history, including “expert and inventor

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testimony, dictionaries, and learned treatises.”"” While authorizing examination of extrinsic

 

36 See, ¢.g., Bell & Howell Document Mgmt. Prods. Co. y. Altek Sys., 132 F.3d 701 (Fed. Cir.
1998).

37 See, e.g., NTP, Inc. v. Research in Motion, Ltd., 418 F.3d 1282, 1293 (Fed. Cir. 2005), reh’g
en banc denied; Microsoft Corp. v. Multi-Tech Sys., Inc., 357 F.3d 1340, 1350 (Fed. Cir. 2004),
reh’g en banc denied.

38 TDM Am., LLC v. U.S., 85 Fed. Cl. 774, 788 (Fed. Cl. 2009).

°? Renishaw PLC v. Marposs Societa’ per Azioni, 158 F.3d 1243, 1249 (Fed. Cir. 1998) (when
the patentee “has elected to be a lexicographer by providing an explicit definition in the
specification for a claim term[,]... the definition selected by the patent applicant controls”); see
also Housey Pharms, Inc. v. Astrazeneca UK Ltd., 366 F.3d 1348, 1352 (Fed. Cir. 2004),

© Thorner v. Sony Computer Entm’t Am. LLC, 669 F.3d 1362, 1368 (Fed. Cir. 2012),

“' Td. (internal citations omitted).

” Computer Docking Station Corp. v. Dell, Inc., 519 F.3d 1366, 1374 (Fed. Cir. 2008); see also
Spectrum Int’l, Inc. v. Sterilite Corp., 164 F.3d 1372, 1379 (Fed. Cir. 1998) (A patentee
relinquishing subject matter to distinguish prior art cannot escape reliance by a defendant upon
the surrender of subject matter.) (internal cites omitted); see also Astrazeneca AB, 384 F.3d at
1340.

“3 Ormco Corp. v. Align Technology, Inc., 498 F.3d 1307, 1314 (Fed. Cir. 2007) (quoting Omega
Eng’, Inc. v. Raytek Corp., 334 F.3d 1314, 1333 (Fed. Cir. 2003)).

“4 Phillips, 415 F.3d at 1317.

*S Td. (internal quotation omitted).
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evidence, the Federal Circuit has warned that, while it “can shed useful light on the relevant art,”
it is “less significant than the intrinsic record in determining the legally operative meaning of
claim language.””*°
IV. ARGUMENT

A. Disputed Constructions

 

 

The parties continue to dispute the constructions of the following terms.””
1. “Streaming (n.)”; “Streaming (adj.)”; and “Streamed”
Term _| Spotify’s Proposed Construction ___| Nonend’s Proposed Construction
Streaming | The continuous transmission of data Transmission of content that may
(noun) packages that are received by areceiver in | be played by the receiver while the

sequential order and played by the receiver | transmission is occurring
while the transmission is occurring

 

 

 

 

 

 

Streaming | Transmitted continuously and received in Transmitted and may be played by
(adj.) sequential order by a receiver and played by | the receiver while the transmission
the receiver while the transmission is is occurring
occurring
Streamed Transmitted continuously and received in Transmitted and may be played by
sequential order by a receiver and played by | the receiver while the transmission
the receiver while the transmission is is occurring
occurring

 

Although the parties acknowledge that a transmission is required by the terms “streaming
(n.),” “streaming (adj.),” and “streamed” (collectively, “streaming”), the parties dispute (1)
whether “data packages” are transmitted; (2) whether the transmission of data packages is
continuous; (3) whether the data packages are received by a receiver in sequential order; and (4)
whether the data packages are played by the receiver while the transmission is occurring.
Because Spotify’s proposed constructions are supported by the specification as well as
statements made by the patentees during prosecution, which requires “streaming” to include each

of the four listed limitations, the Court should adopt Spotify’s proposed constructions.

 

“6 Phillips, 415 F.3d at 1317 (internal quotation omitted).
‘7 See, generally, Ex. B to the parties’ Joint Claim Construction Chart (Doc. 36-2).

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a. Streaming Requires the Transmission of Data Packages
The specification makes numerous references regarding the transmission of data
packages. Indeed, the specification provides: “[iJn case of a streaming audio or video application
the sequential order of several data packages is of importance because en route delaying during

the transmission of a data package results in an irregular broadcast.”** The patentee continues:

[s]treaming video and streaming audio are known internet applications in which data
packages with contents are transmitted from a server or station to clients or consumers.
The special thing about these data packages is that the time sequence of the various
packages is of importanee: a radio broadcast, for instance, has a fixed time line.
Additionally the continuity of data flow is of importance, as otherwise the broadcast will
falter.

Nonend argues that “streaming” requires the transmission of “content” as opposed to data
packages, but apparently ignores the patents’ definition of “content” as being comprised of data
packages.” Further, there can be no serious dispute that the alleged inventions disclosed in the
Asserted Patents pertain to networks such as the Internet, or other similarly organized networks,
all of which involve the receipt and transfer of discrete units of data. Thus, “streaming” involves
the transmission of “data packages.”

b. Streaming Requires Continuous Transmission

The specification emphasizes that continuity of data during streaming is “of importance,”
as evident from the quotation discussed in the preceding subsection of this brief, because
“otherwise the broadcast will falter.”°! The specification further warns that a stable data

connection during data transfer is “of great importance” when streaming media content.”

 

48 >508 Patent at 2:40-43 [A-46] (emphasis added),

” Td. at 7:2-10 [A-49] (emphasis added).

°° Td. at 2:38-40 [A-46] (“Content namely is generally divided into smaller data packages, [sic]
that are subsequently transmitted.”’).

5! Td. at 7:2-10 [A-49].

»? Td. at 6:12-16 [A-48] (“During data transfer, particularly during data transfer wherein the
sequential order is of importance, such as for instance streaming audio and streaming video in
internet applications, an optimal data connection is of great importance.”’).

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c. Streaming Requires the Sequential Receipt of Data Packages
The patentees also required the correct sequential receipt of data packages during
streaming in several places in the specification.’ > The receipt of data packages in sequential

order (and only sequential order) is also depicted in Figures 6A-K, which “may for instance be

streaming video or audio,””*

d. Streaming Requires that Receiver Play Data Packages While
the Transmission is Occurring

Nonend argues that a receiver “may” play content while the transmission is occurring.
This permissive language, however, is incorrect; streaming, as defined by the patentees, requires
that a receiver play the content or data as the transmission is occurring. Indeed, in order to
traverse prior art, the patentees argued that the prior art (which permitted playback of music at

the user’s leisure) did not disclose “streaming”:

As a preliminary matter, Applicant submits that Henzerling does not even disclose
“streaming content,” as recited in each of the independent claims. Henzerling also fails
to teach or suggest making streaming content “ready for play-back,” as recited in the
pending claims. Instead, Henzerling deals with the traditional transmission and receipt of
entire data files, albeit between music players. “Once stored in memory 52, the user
may play the music file at his leisure.” (Henzerling, col. 3, lines 63-64.) Thus, in
Henzerling’s music players, only after an entire file has been downloaded may it be made
ready for play-back or transmission.”

The file history is here describing and distinguishing the claimed invention from the prior
art, and the way in which music was typically shared at the time of filing. A user at that time
using, for example, the then-common Napster service would have downloaded a requested song
and then “play[ed] the music file at his leisure.” The patentees define “streaming” as something

other than receiving a song or data packages for playback. Nonend apparently seeks, through its

 

3 See, e.g., 508 Patent at 2:40-42 [A-46] (“In case of a streaming audio or video application the
sequential order of several data packages is of importance because en route delaying during the
transmission of a data package results in an irregular broadcast.”) (emphasis added); 6:12-16 [A-
48] (“During data transfer, particularly during data transfer wherein the sequential order is of
importance, such as for instance streaming audio and streaming video in internet applications,
an optimal data connection is of great importance.”) (emphasis added); see also 7:2-10 [A-49].

*4 Yd. at 11:40-41 [A-51].

°> See ’138 Patent file history, Jan. 5, 2010 Amendment, p. 15 [A-1972] (underlining in original)
(emphasis added).

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proposed construction, an argument that its claims encompass downloading a song for later
playback as was done in the prior art. This was clearly disclaimed in the file history in light of
the Henzerling prior art.

Because Spotify’s constructions adhere closely to the language used by the patentees to

define the “streaming” terms, the Court should adopt Spotify’s proposed constructions.

 

 

 

2. “Peer node”
Spotify’s Proposed.Construction — | Nonend’s Proposed Construction ——_
A node in a network that can act as a No definition required — plain and ordinary
transmitter (server) of data packages at one meaning

moment or as a receiver (client) of data
packages at another moment and change its
role on its own initiative

 

 

 

Spotify’s proposed construction of this term is grounded in the language used by the

patentees to define it in the specification:

In conformity with the device according to the invention it is namely possible that the
same peer at one moment acts as a server having a second peer as client and at another
moment acts as client of the second peer now acting as server, without a control being at
the basis thereof. The two devices change role on their own initiative.>°

The patentees further define a peer node as one that can “change type by means of the software,
or may even be several types at the same time.”*’ This is the essence of what a peer node is —
each peer node is equal to any other peer node because each can perform the functions of all
others. This fully comports with the standard dictionary definition of “peer” — “one that is of

»°8 __ but applies it to the special case of computer networks.

equal standing with another
As far as Spotify is aware, Nonend does not dispute the definition of the term.

Nevertheless, Nonend asks the Court to refrain from providing any definition at all. Nonend

ignores what the Asserted Patents themselves have to say about this term. Moreover, a lay jury

will not have an understanding of the use of the term in the specialized context of computer

networking; a definition will assist the jury and avoid confusion.

 

°6 >508 Patent at 2:25-30 [A-46].

°7 Td, at 4:58-60 [A-47].

°8 Merriam-Webster’s Collegiate Dictionary (11™ ed., 2003), at 913 [A-3062].
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3. “Device”
Spotify’s Proposed Construction =—=—_—| Nonend’s Proposed Construction |
A peer node No definition required — plain and ordinary
meaning

 

 

 

It is evident from reading the specification that the patentees intended to equate a
“device” of the claims with a “peer node,” and that the terms are used interchangeably.
Numerous passages in the specification establish this equivalence, requiring a construction in
lieu of the ambiguity created by which Nonend’s “plain and ordinary meaning.” Thorner, 669

F.3d at 1368. “Devices,” according to the patentees, comprise the peer nodes of a network.

By choosing such a device an organic data network can be built up or created in which
independent devices according to the invention are able to provide other independent
devices according to the invention with data so that for instance data that are available to
a network are quickly accessible to any give[n] device in a network,*?

Further, the specification ascribes various attributes to a “device” which describe attributes of a
peer node. For example, a “device” according to the Asserted Patents is provided with “a
transmission routine for transmitting data packages to receiving devices.” “Devices” have the
ability to make an inventory of a number of other devices in the data network and try out the
connection to another device on the data network for “transmitting and/or receiving when
existing connections are broken off or come below a threshold value.”®' The patentees also
intended that “devices” have network addresses.” Tellingly, patentees also wrote that “[a]
possible device according to the invention is a consumer node.” As noted above, consumer

nodes (a type of peer node) are central to the network described in the Asserted Patents.”

 

°? °508 Patent at 2:4-9 [A-46]. See also, e.g., id. at 2:13-15 [A-46] (“It is possible therefore,
using a device according to the invention, to build or maintain a network having a very low
failure sensitivity.”’); 2:25-30 [A-46] (“In conformity with the device according to the invention
it is namely possible that the same peer at one moment acts as a server... and at another moment
acts as [a] client...”).

60 Td. at 3:8-11 [A-47].
6 Id. at 3:24-26 [A-47].
© Id, at 3:27-29 [A-47]. (“In the same or another embodiment of the invention, the device is

provided with a memory for storing a data network address of at least one other device in the
data network.”’). See also id. at 3:35-40.

° Id. at 4:51-52 [A-47].
6 Td. at 5:3 [A-48].
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That Nonend argues that a “device” is not a peer node also ignores the prosecution
history. In the USPTO’s April 27, 2009 Notice of Allowance, the Examiner wrote: “Examiner
interprets... the limitation ‘peer node’ as a device.” That the Examiner determined it necessary
to provide the definition under which the claims were allowed demonstrates that the claim term
should be construed now to avoid ambiguity later. Within the context of the Asserted Patents, a

“device” is a peer node; the Court should construe it as such.

 

 

 

4. “Production node”
- Spotify’s Proposed Construction ——__ | Nonend’s Proposed Construction —
A peer node that transmits content to other A node that initially provides the content to the
nodes when they request such network and can transmit content to another
node when requested

 

 

 

Again, Spotify relies on the patentees’ own language in support of its proposed
construction. The patentees write, “[t]he first node is a node transmitting content to other nodes
when they request such. Such a node is further called a production node.” Further, “[a]
production node is a device according to the invention the purpose of which is to make the
content, either generated or present in the device itself, available to one or more other devices.”®”
Nonend’s proposal modifies the express language in the specification; it should be rejected.

Spotify includes the term “peer node” in the definition to make clear that any node
claimed by the Asserted Patents must be a peer node. Because the patentees explicitly
disclaimed hierarchic systems from their alleged inventions and stated that the alleged invention
involved a peer-to-peer network (see Section IL.B., above), all nodes recited by the claims
(including “production node”) must also be peer nodes. The various names (“production node,”
“consumer node,” “portal node”) are merely functional descriptions of what the peer node is

doing at a particular time. As the patent states, a node “at one moment” has one function and “at

another moment” has a different function; nodes “can change role on their own initiative.” ’508

 

6 >508 Patent file history, April 27, 2009 Notice of Allowance at p. 2 [A-456].
6 >508 Patent at 4:62-64 [A-47].

67 Id, at 7:15-20 [A-49]; see also id. at 8:42-44 [A-49] (“The production node delivers content for
instance a streaming audio broadcast via the internet to two consumer nodes 2 and 2’.”).

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Patent at 2:25-30. Moreover, without the requirement that a production node be a peer node, a
production node can be interpreted as a central node in a hierarchic system, which is precisely

what was disclaimed by the patentees.

 

 

 

5. “Central node”
Spotify’s Proposed Construction —__-—_ | Nonend’s Proposed Construction _
A node that controls other nodes in a hierarchic A node that controls data transmission among
system other nodes in a hierarchic system

 

 

 

As a preliminary matter, the term “central node” only appears in claim 38 of the °513
Patent, where it is used in the negative: “[t]he method of claim 33, wherein none of the other
media players is a central node.” [A-291] According to the patentees, a central node would be
part of a hierarchic system: “[a]dditionally a network... of nodes is known from U.S. Pat. No.
5,511,167 which nodes, however, are each part of a hierarchic system. Each node is centrally
controlled here by means of a central node.” Additionally, in describing the alleged
inventions of the Asserted Patents, the patentees write: “[p|referably there generally is no
question of central control here, so that flexibility and failure sensitivity are reduced.” Thus, a
central node, as contemplated by the patentees, is capable of controlling other nodes in a
hierarchic system, and is therefore not part of the alleged invention.

Nonend argues for a narrower definition of the term “central node,” and limits a central
node to “control[ling] data transmissions among other nodes in a hierarchic system.” However,
Nonend does not provide intrinsic support for that narrow construction, which in any event,
conflicts with the patentees’ statement that “each node [in a hierarchic system] is centrally
controlled... by means of a central node.” Although Spotify acknowledges that a central node
may control the data transmissions among other nodes in a hierarchic system, a central node, as

defined by the patentees, is not so limited.”

 

68 508 Patent at 1:36-39 [A-46] (emphasis added).

© Id. at 5:56-58 [A-48].

”° Unlike all the other nodes which Spotify asks the Court to construe, Spotify does not ask the
Court to interpret a “central node” as a peer node because the patent expressly states that a

“central node” is a node in a prior art hierarchical network. °508 Patent at 1:36-39 [A-46].
Nowhere in the claims or the specification is a “central node” alleged to be part of the invention.

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6. “Consumer node”

 

Spotify’s Proposed Construction —=—=——_—-_ | Nonend’s Proposed Construction

 

 

A peer node that is provided with software to A node that is provided with software to
receive content and to deliver it to other nodes _ | receive content and to deliver it to other nodes
requesting such, independent of the source requesting such, independent of the source

 

 

 

Here, the parties supply nearly identical proposed constructions for “consumer node.”
The only dispute the parties have is whether a consumer node is, as Spotify contends, a “peer
node.””! Again, Spotify includes the term “peer node” in the definition to make clear that any
node claimed by the Asserted Patents must be a peer node. Because the patentees explicitly
disclaimed hierarchic systems from their alleged inventions and stated that the alleged invention
involved a peer-to-peer network (see Section II.B., above), all nodes recited by the claims
(including “consumer nodes”) must also be peer nodes.” Spotify’s construction relies on the
numerous statements made in the specification limiting the proper scope of the alleged
inventions to P2P networks.” In contrast, Nonend’s proposed construction ignores the proper

scope of the alleged inventions.

 

 

 

 

7. “Peer-to-peer network”; “Peer system”; “Network”; “A system for
distributing media content”; and “Network of media players”

Term. _| Spotify’s Proposed Construction |_| Nonend’s Proposed Construction

Peer-to-peer | A network of peer nodes No definition required — plain and

network ordinary meaning

Peer system | A peer-to-peer network No definition required — plain and
ordinary meaning

Network A group of interconnected peer nodes No definition required — plain and

ordinary meaning

 

 

A system for | A network of peer nodes used to transmit | No definition required — plain and
distributing audio or video content ordinary meaning

media
content

 

 

 

 

 

” The parties agree that consumer nodes are “provided with software to receive content and to
deliver it to other nodes requesting such independent of the source.” See ’508 Patent at 5:4-5 [A-
48].

® As stated above, the patentees’ various names (“production node,” “consumer node,” “portal
node”) for a peer node are merely functional descriptions of what the peer node is doing at a
particular time.

® Indeed, the patentees state that “[a] possible device according to the invention is a consumer
node.” ’508 Patent at 4:51-52 [A-47]. As discussed in Section IV.D.3 (the discussion of
“device”), a device, as used in the context of the Asserted Patents, is a peer node.

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99 66 39 66.
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Network of | A group of interconnected peer nodes for | No definition required — plain and
media ‘| connecting media players ordinary meaning
players

 

 

 

 

This group of terms involves “networks” and “systems.” Although the terms are varied, a
single issue connects them all: Because the patentees disclaimed hierarchic systems (see Section
IL.B, above), the Court should construe the “networks” or “systems” above to take into account
such disclaimer by limiting them to P2P systems. Without a P2P limitation, the constructions of
the above terms become impermissibly broader than what the patentees intended.

The abstract of the ’508 Patent states that a “peer-to-peer network compris[es] a receiver
peer node and a plurality of transmitter peer nodes.””" This fully supports Spotify’s construction
that a “peer-to-peer network” is a “network of peer nodes.” The next term, “peer system,” is just .
another way of saying a group of peer nodes and should be construed as a “peer-to-peer
network” for the same reasons.

With regard to the term “network,” it is understood from the context of the Asserted
Patents that the network claimed was a P2P network. Further underscoring this understanding is
the fact that the patentees equate a data network with a growing number of consumer (peer)
nodes.’”> “The larger the network becomes, i.e. the more nodes, the more capacity will be
available and the quicker the network potentially may become, without expansion of the capacity
of the server, by using the device according to the invention.””° Similarly, the Court should
adopt Spotify’s proposed construction of the terms “a system for distributing media content” and

“network of media players,” which take into account the P2P nature of the alleged inventions. ””

 

7 +508 Patent, Abstract [A-1].

® Td. at 6:4-5 [A-48]. See also id. at 6:31-34 [A-48] (“A production or consumer node having a
limited transmission capacity can still transmit relatively much content over a network of many
consumer nodes using its unused capacity.”) (emphasis added).

76 Id. at 6:24-28 [A-48].
™ The USPTO also interpreted “media player” to mean a “device,” which, as discussed above

should be construed as a “peer node.” See ’752 Patent file history, April 7, 2009 Notice of
Allowance at p. 2 [A-1117] (‘Examiner interprets... the limitation ‘media player’ as a device.”).

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8. “Autonomously”
Spotify’s Proposed Construction ==—_| Nonend’s Proposed Construction
On its own initiative and independent of other | No definition required — plain and ordinary
nodes -meaning

 

 

 

Here, Spotify again relies on the patentees’ own words in advancing its proposed
construction for “autonomously.” The specification uses this term in several places:’* “[s]pecial
however is that the consumer node is able to act entirely autonomous and independent of the
production node.”” Further, the patentees wrote, “[a] new node might at its own initiative,
entirely autonomously, go look for an even better connection.”®° The patentees further
underscored that in order for something to act autonomously, it must do so without the

intervention of anything else.*!

 

 

 

 

9, “First communication channel” and “Second communication
channel”
Term _| Spotify’s Proposed Construction —_—_| Nonend’s Proposed.
ees ee | Construction _
First A first connection via a transmission A first connection via a
communication | medium to a first peer node transmission medium
channel
Second A second connection via a transmission A second connection via a
communication | medium to a second peer node transmission medium
channel

 

 

 

 

These terms appear in claims 1, 2, 5, 12, and 17 of the ’862 Patent. Both parties agree
that a “communication channel” is a “connection via a transmission medium.” The only
difference between the two proposals is Spotify’s addition of what the communication channels

are connected to — either a “first” or “second peer node.” Nonend’s proposal, which lacks these

 

78 See Renishaw, 158 F.3d at 1249 (A patentee may impliedly redefine a term by using a second
term as an alternative).

” *508 Patent, at 5:38-40 [A-48] (emphasis added).
80 7d, at 5:50-51 [A-48] (emphasis added).

81 7d. at 14:50-56 [A-52] (“The device according to the invention in all examples is
autonomously capable of retrieving content from a data network, and sending it on to other
devices according to the invention without the intervention of the transmitting side. Additionally
each device is capable of testing whether a better connection is within reach, and entirely
independently choosing whether to use said connection.”’).

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limitations, should be rejected because it would expand the scope of the claims beyond what was
contemplated by the ’862 Patent.

Claim 1 of the ’862 Patent recites a “receiving media player” and “two communication
channels.” Each communication channel is “operationally coupled to” the receiving media
player. What claim 1 does not have, however, is an explicit statement of what the other ends of
those communication channels are connected to. Read as broadly as Nonend proposes, claim 1
of the ’862 Patent would allow a “media player” to be connected to anything via the
“communication channels,” including a dedicated content server.

Because the patentees clearly contemplated a P2P system, it follows that a “receiving
media player” would necessarily be connected to its peers — other media players or nodes — and
not a content server. Nonend’s proposal would read the claims far more broadly than what the
patentees’ statements in the specification actually allow; by deliberately omitting the fact that a
“receiving media player” must be attached to peer nodes via the first and second communication
channels, Nonend seeks to expand the scope of claim 1 to encompass a system in which the
“receiving media player” could be connected to content servers such as those present in
traditional client/server architectures. This is impermissible.

Thus, in order to properly define the alleged inventions, it is necessary for the Court to
include the limitations “to a first peer node” and “to a second peer node” in its constructions of
“first communication channel” and “second communication channel,” respectively.

V. CONCLUSION

For all of the foregoing reasons, Spotify respectfully requests that its proposed claim

constructions be adopted, and for such other and further relief to which it may show itself

entitled,

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Dated: October 18, 2013
1127008

Filed 10/18/13 Page 25 of 26 PagelD #: 547

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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF DELAWARE

CERTIFICATE OF SERVICE

I, Philip A. Rovner, hereby certify that on October 18, 2013, the within document was

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